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           In the United States Court of Federal Claims
                                          No. 20-1119
                                     Filed: October 2, 2020

                                                 )
 CURRY, et al.,                                  )
                                                 )
                   Plaintiffs,                   )
                                                 )
 v.                                              )
                                                 )
 THE UNITED STATES,                              )
                                                 )
                   Defendant.                    )
                                                 )

                                            ORDER

       On September 21, 2020, plaintiffs filed a “Motion for Nonsuit,” requesting that the Court
“dismiss this case without prejudice,” as the plaintiffs have a proceeding pending in the U.S. Tax
Court. Motion for Nonsuit, ECF No. 7. The Court construes this Motion as a Motion for
Voluntary Dismissal. For good cause shown, plaintiffs’ Motion is GRANTED, and plaintiff’s
Complaint is hereby DISMISSED without prejudice. The Clerk of Court is directed to take the
necessary steps to dismiss this matter.

       IT IS SO ORDERED.


                                                  Loren A. Smith
                                                  Loren A. Smith,
                                                  Senior Judge
